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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:05CR186
                     Plaintiff,               )
                                              )
              v.                              )
                                              )         MEMORANDUM AND ORDER
WILLIAM HANSEN,                               )
                                              )
                     Defendants.              )
                                              )


       This matter is before the court on defendant William Hansen’s objection, Filing No.

28, to the Report and Recommendation (“R&R”) of the United States Magistrate Judge

(“Magistrate”) (Filing No. 27), regarding Hansen’s motion to suppress (Filing No. 20).

Hansen is charged with one count of conspiracy to distribute and possess with intent to

distribute more than 500 grams of methamphetamine and one count of possession with

intent to distribute methamphetamine in violation of 21 U.S.C. §§ 846 and 841(a)(1) and

(b)(1). Hansen seeks suppression of evidence found in the search of his vehicle on

November 20, 2004, and of statements made to the arresting officer both before and after

being advised of his rights under Miranda v. Arizona, 384 U.S. 436 (1966), on that date.

See Filing No. 20.

       The Magistrate recommends that the motion be granted in part and denied in part.

Filing No. 27, R&R at 19-20. He recommends suppression of the statements Hansen made

before he was advised of Miranda rights, but denial of the motion in all other respects. The

Magistrate's conclusion is based in part on the finding that there was no showing that the

officer deliberately attempted to evade Miranda. Id. at 12. Defendant Hansen objects to the

Magistrate’s finding that the post-Miranda statements are admissible.
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       An evidentiary hearing was held before the Magistrate on June 2, 2005. Filing No.

25, Minutes; Filing No. 26, Transcript of Hearing (“Hr’g Tr.”).          Under 28 U.S.C. §

636(b)(1)(C), the court has conducted a de novo review of those portions of the report or

recommendations to which defendant Hansen objects. The court has reviewed the record,

including the transcript of the hearing and a videotape of the traffic stop at issue. See Filing

No. 26, Hr’g Tr., Hearing Exhibit (“Hr’g Ex.”) 1. For the reasons set forth below, the court

finds Hansen’s objection to the Magistrate’s recommendation that this court deny Hansen’s

post-Miranda statements should be sustained and Hansen’s motion to suppress those

statements should be granted.

       The court generally accepts the Magistrate's factual findings and they will be

repeated only as necessary to this court’s analysis. Significantly, the record shows that

Hansen had been arrested on two outstanding warrants at the time of the initial

questioning. Hr’g Tr. at 10. He had been handcuffed and placed in the front passenger

seat of the patrol car, where he remained for the duration of the traffic stop which lasted

almost two hours. Id. at 10, 28. The videotape shows Hansen was stopped at 10:40 p.m.,

arrested and handcuffed approximately fifteen minutes later, and was not Mirandized until

11:57 p.m. See Hr’g Ex. 1. He was transported to the police station at 12:25. Hr’g Tr. at

28.

       The arresting officer, Sgt. Buck Boje, was accompanied by Trooper Jones, who

searched Hansen’s vehicle and reported to Sergeant Boje that a needle syringe had been

found on the floor of the truck. Id. at 16. Sergeant Boje asked defendant Hansen if he had

a medical condition, such as diabetes, that would make it necessary to have a syringe in

his vehicle. Id. The defendant responded that he did not, and that he did not know why

the needle and syringe would be there. Id. Trooper Jones continued to search the truck

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and found a plastic baggie containing a white crystalline substance. Id. at 17. Sergeant

Boje showed the baggie to the defendant and asked if the substance was “ice” or

methamphetamine. Id. The defendant answered that it was and admitted that he used

methamphetamine. Id. at 17, 40-41. Sergeant Boje continued to engage defendant

Hansen intermittently in general conversation, including asking him whether there were

other syringes or contraband and whether there was anything that had been stolen in the

pickup truck, for almost an hour after the syringe was found. Id. at 40-42. After calling for

additional backup and field testing the substance, Sergeant Boje read Hansen his Miranda

rights at approximately 11:55 p.m. Id. at 37, 52-53. Sergeant Boje also asked Hansen if

he would be willing to waive his Miranda rights and to continue to speak to Boje. Id. at 22,

Hr’g Ex. 2. After defendant agreed to speak, Sergeant Boje asked defendant Hansen a

number of questions about the methamphetamine, including where he had

purchased it, what he was doing with it, when he last purchased methamphetamine,

and whether he was cooking it. Hr’g Tr. at 43. The defendant denied manufacturing

methamphetamine, but said he knew of some people who did and was willing to provide

information on them. Id. at 45-46.

       The Magistrate recommended, and this court agrees, that Hansen’s statements prior

to being read his Miranda rights should be suppressed because Hansen was clearly in

custody and was subject to a custodial interrogation without the warnings required by

Miranda. Filing No. 27, R&R at 9-10. A Miranda warning must precede any custodial

interrogation. See United States v. Chamberlain, 163 F.3d 499, 502 (8th Cir. 1999).

Interrogation in the Miranda context refers to express questioning and to words or conduct

that officers should know is "reasonably likely to elicit an incriminating response from the


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suspect." Rhode Island v. Innis, 446 U.S. 291, 301 (1980); see also United States v.

Briones, 390 F.3d 610, 612 (8th Cir. 2004). Once a custodial relationship is established,

questioning assumes a presumptively coercive character. See Miranda, 384 U.S. at 467.

The record shows that no Miranda warning was given until after the arresting officer asked

him several questions reasonably likely to elicit an incriminating response and Hansen

made several incriminating admissions.

       The admissibility of statements made after belated Miranda warnings during

continuing interrogations is governed by Missouri v. Seibert, 542 U.S. 600, —, 124 S. Ct.

2601, 2607-12 (2004) (plurality opinion) (holding that Miranda warnings given

mid-interrogation, after defendant gave unwarned confession, were ineffective, and thus

confession repeated after warnings were given was inadmissible at trial), and Oregon v.

Elstad, 470 U.S. 298, 309 (1985) (holding that an unwarned first confession or statement

will not always compromise the voluntariness of a subsequent confession). Under Seibert,

the controlling question in a case involving a two-stage interrogation is whether "a

reasonable person in the suspect's shoes" would have understood the Miranda warnings

to convey a message that the suspect retained a genuine choice about continuing to talk.

Id., 542 U.S. at —, 124 S. Ct. at 2612. In the Eighth Circuit, courts apply the multi-factor

test derived from Seibert, 542 U.S. at —, 124 S. Ct. at 2612, in order to determine

whether Miranda warnings delivered between two interrogation sessions are sufficient to

fully inform a suspect of his Miranda rights. United States v. Fellers, 397 F.3d 1090, 1098

(8th Cir. 2005), cert. denied, 2005 LEXIS 7285 (Oct. 11, 2005); Briones, 390 F.3d at 613-

14 & n.3; United States v. Aguilar, 384 F.3d 520, 524-25 (8th Cir. 2004). Courts consider:

(1) the extent of the first round of interrogation; (2) the extent to which the first and second


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rounds of interrogation overlap; (3) the timing and setting of both questioning sessions,

including whether a continuity of police personnel existed; and (4) the extent to which the

interrogator's questions treated the second round as continuous with the first. Aguilar, 384

F.3d at 524.

        As noted, Seibert is a plurality opinion. When no single rationale has the assent of

five justices, the holding of the Court is the position of the justices who concurred in the

judgment on the narrowest grounds. United States v. Black Bear, 422 F.3d 658, 664 (8th

Cir. 2005). Justice Kennedy relied on grounds narrower than those of the plurality. 1 Id.,

United States v. Briones, 390 F.3d at 613 (stating that the key to Seibert is Justice

Kennedy’s reliance on a determination of whether the police officer's technique was a

"designed," "deliberate," "intentional," or "calculated" circumvention of Miranda). Under

Justice Kennedy's approach, whenever an interrogator uses a tactic that is deliberately

designed to circumvent Miranda, the statement must be suppressed. Seibert, 542 U.S. at

—, 124 S. Ct. at 2616 (Kennedy, J., concurring); Aguilar, 384 F.3d at 525. That is not to

say, however, that any incriminating statement obtained in the absence of a deliberate

intent to violate Miranda will be admissible. See United States v. Terry, 400 F.3d 575, 582

(8th Cir. 2005) (factually distinguishing Seibert based upon lack of evidence of threatening

or coercive tactics and failure to show that first statement was involuntary). Under Justice

Kennedy’s approach, the Oregon v. Elstad analysis must still be performed. See Seibert,

542 U.S. at —, 124 S. Ct. at 2616 (Kennedy, J., concurring); Briones, 390 F.3d at 614.


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          Justice Kennedy wrote a concurring opinion that advocates a focus on the subjective intent of the
police in an effort to determine whether a two-stage interrogation was intentionally used to undermine the
efficacy of the Miranda warnings. Id. at —-, 124 S. Ct. at 2615-16 (Kennedy, J., concurring in judgment). In
Justice Kennedy's view, absent that intent, the principles of Elstad control the outcome. See Seibert, — U.S.
at —, 124 S. Ct. at 2616.


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       Elstad instructs that "absent deliberately coercive or improper tactics in obtaining

the initial statement, the mere fact that a suspect has made an unwarned admission does

not warrant a presumption of compulsion" with respect to any subsequent postwarning

statement. Elstad, 470 U.S. at 314. Though Miranda requires that an unwarned admission

must be suppressed, the admissibility of any subsequent statement turns on whether it was

knowingly and voluntarily made. Id. at 309. Thus, statements obtained in violation of

Miranda, although they must be suppressed as presumptively coercive, may be found to

have been voluntary in fact. Id. at 307. If the unwarned statement is found to be voluntary,

then a subsequent warned confession may be admissible as long as the prior statement

was not the result of "deliberately coercive or improper tactics." Id. at 314. “The relevant

inquiry is whether, in fact, the second statement was also voluntarily made." Id. at 318.

The government has the burden of proving by a preponderance of the evidence that, under

the particular facts and circumstances of the case, a waiver of Miranda rights is an

intentional, voluntary, knowing, and intelligent relinquishment or abandonment of a known

right or privilege. Missouri v. Seibert, 542 U.S. at —, 124 S. Ct. at 2607 n.1 (2004)

(plurality opinion); Black Bear, 422 F.3d at 663.

       Having found that Hansen was in custody and Miranda was violated, the appropriate

inquiry is whether the first statement, unlawfully obtained in violation of Miranda, taints the

later statement. Elstad, 470 U.S. at 309. Compare United States v. Robinson, 20 F.3d

320, 322 (8th Cir. 1994) (finding a technical Miranda violation, that is, a simple failure to

administer the warning “unaccompanied by actual coercion or other circumstances

calculated to undermine the suspect’s ability to exercise his free will” will not generally “so

taint the investigatory process that a subsequent voluntary and informed waiver” would be


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ineffective), with United States v. Carter, 884 F.2d 368, 373 (8th Cir. 1989) (finding under

Elstad that a case involving “no passage of time to speak of between an unwarned

confession and a subsequent warning and confession” were “part and parcel of a

continuous process” that amounted to sufficient taint to render the second warned

confession inadmissible).

       In a sequential confession case, the court must thus determine whether, in the

circumstances the Miranda warnings were given, the warning could reasonably be found

to be effective: that is, “[c]ould the warnings effectively advise the suspect that he had a

real choice about giving an admissible statement at that juncture? Could they reasonably

convey that he could choose to stop talking even if he had talked earlier?” Seibert, 542

U.S. at —, 124 S. Ct. at 2610 (plurality opinion). If not, “the subsequent statement is

inadmissible for want of adequate Miranda warnings, because the earlier and later

statements are realistically seen as parts of a single, unwarned sequence of questioning.”

Id. Accordingly, “when Miranda warnings are inserted in the midst of coordinated and

continuing interrogation, they are likely to mislead and ‘depriv[e] a defendant of knowledge

essential to his ability to understand the nature of his rights and the consequences of

abandoning them.’” Id. (quoting Moran v. Burbine, 475 U.S. 412, 424, (1986)). It is

“unrealistic to treat two spates of integrated and proximately conducted questioning as

independent interrogations subject to independent evaluation simply because Miranda

warnings formally punctuate them in the middle.” Id. at 2611. See also Elstad, 470 U.S.

at 309-10 (noting that in deciding whether a defendant’s second confession is the product

of a coerced first confession, courts should look at circumstances that show a break in the




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causal link between the initial and subsequent confessions—including passage of time,

change in venue, change in interrogators and use of Miranda).

       The facts here show the sort of continuous process that requires suppression of the

post-Miranda statement.     Defendant Hansen was clearly in custody and subject to

presumptively coercive questioning before he was Mirandized. There has been no

showing that Hansen’s statements in response to the initial questioning were voluntary or

that the failure to advise Hansen of his rights was a mere technical violation. The evidence

shows an ongoing conversation between Sergeant Boje and Hansen. Although most of

Hansen's statements are inaudible, Sergeant Boje's comments and questions would

provoke incriminating statements. There is no apparent reason for the delay in advising

defendant Hansen of his rights. The issue of the voluntariness of Hansen’s post-Miranda

statement cannot be separated from the initial Miranda violation.

       Hansen’s subsequent confession is causally linked to the first confession. The

second set of questions related to and amplified the information obtained in the initial

statement. The subject matter of the two interrogations overlap, with the second questions

eliciting information that was more complete and detailed than the first. No event serves

to break the continuity of the initial questioning, so as to lead a reasonable person to

believe that he had any genuine choice not to answer.

       Hansen’s waiver of Miranda rights was obtained in a coercive setting—Hansen was

handcuffed and had been detained for almost two hours.              The first and second

interrogations took place in the same location, within the confines of the patrol car, and

involved the same interrogator. Because Sergeant Boje continued to converse with

Hansen throughout the extended period of the stop, there was no significant passage of



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time between the first and second set of questions. The pre-Miranda and post-Miranda

conversations were treated by both parties as part of a continuous discussion. The court

finds the government has not sustained its burden of showing that Hansen's waiver of

Miranda rights was the voluntary, knowing and intelligent waiver of a known right.

       Accordingly, the court finds that the Magistrate erred in concluding that Hansen’s

motion to suppress his post-Miranda statements should be denied.           However, the

Magistrate’s R&R will be adopted in all other respects.

       IT IS ORDERED:

       1.    Defendant Hansen’s objection (Filing No. 28) to the Report and

Recommendation of the Magistrate (Filing No. 27) is sustained.

       2. The Report and Recommendation of the Magistrate (Filing No. 27) is adopted

in part.

       3. Defendant Hansen’s motion to suppress (Filing No. 20) is granted in part and

denied in part.

       4. Defendant Hansen’s motion to suppress is granted with respect to statements

he made to Sergeant Boje on November 20, 2004, and denied with respect to evidence

seized in a search of his vehicle on November 20, 2004.

       DATED this 18th day of October, 2005.


                                         BY THE COURT:



                                         s/Joseph F. Bataillon
                                         JOSEPH F. BATAILLON
                                         UNITED STATES DISTRICT JUDGE




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